Case 18-52286-jrs     Doc 33   Filed 11/08/18 Entered 11/08/18 12:22:53   Desc Main
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                                                              PLEASE TYPE OR PRINT



                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF GEORGIA

                        Request for Change of Address
           Stacie Danielle Hudgins
Case Name: _____________________________________________________

          18-52286-jrs
Case No.: _______________ Chapter: 13
                                   _______

Change of Address for:
             ✔ Creditor ___ Attorney for Debtor ___ Attorney for Creditor___
     Debtor ___

Change for:
                                                             ✔
     Notices ONLY ___ Payments ONLY ___ Notices and Payments ___

EFFECTIVE DATE OF CHANGE:              11/08/2018
                                       ___________________

Name:                                  Stacie Danielle Hudgins
                                       ______________________________________
Prior Address:                         808 Cork Oak Lane
                                       ______________________________________
                                       Lawrenceville, GA 30045
                                       ______________________________________
                                       ______________________________________

************************************************************************

New Address:                           Stacie Danielle Hudgins
                                       ______________________________________
                                       4882 Valley Dale Drive, Unit B
                                       ______________________________________
                                       ______________________________________
                                       Lilburn, GA 30047


Change of Address Was Furnished By:                                        ✔
                                       Debtor_____ Creditor_____ Attorney _____

Date: _________
      11/08/2018                                     /s/ Howard Slomka
                                 Signature of Filer: _____________________________
                                                       404-800-4001
                                 Telephone Number: _________________________


                               IF FILED BY ATTORNEY

Attorney Name:                         ____________________________________
                                       Howard Slomka

Bar ID:                                652875
                                       ____________________________________
Address:                               2859 Paces Ferry Road SE Suite 1700
                                       ____________________________________
                                       ____________________________________
                                       Atlanta, GA 30339


Revised August 2012
